                 IN   THE UNITED STATES DISTRICT      COURT

                       FOR THE DISTRICT OF DELAWARE

IN RE   LETTER OF REQUEST              )

FROM ARGENTTNA                         )

IN THE MATTER OI'                      )      Misc. No.   18-
GERAUD CHARLES JOSEPH                  )
MERCIER DE LACOMBE V.                  )
AGENCIA FRANCE PRESSE                  )


                                S MEMORANDI'M OF LAW
                      GOVERNMENT I
                 IN   SUPPORT OT APPLICATION FOR ORDER

     This   memorandum    of   Law   is submitted in support of the
Application for an Order pursuant. t.o Ticle 28, Unit.ed SEaLes
Code, Sectiorr 1-782, in order to execute a letter of request from
Argentj-na. A copy of the translati-on is attached.
FACTUAL BACKGROUND    :


     The authorities of Argentina are investigat.ing a civil
proceedj-ng. The case is a civj-1 proceeding where t.he plaintiff
has brought a dismissaf claim againsE the defendant.
EVIDENCE SOUGHT:

     The authoriEies of ArgenEina seek informaEion from
companies that may reside in Ehis District.          The authorit.y for
this Court. to accede to thj-s request is contained in Tit.le         28,

United States Code, Section L'782, which st.ates in part:
     (a) The districL court of the district in which a person
         resj,des or is found may order him t.o give his test.imony
         or sLaLement or to produce a document or other thing for
         use in a proceeding in a foreign or internatj-onal
         tribunal, incJ-uding criminal invest.igations conducted
         before formal accusation. The order may be made
         pursuant to a letter rogat.ory issued, or request made,
         by a foreign or int.ernational tribunal or upon Ehe
          application of any interested person and may direct that
          Lhe testimony or statement be given, or the document or
          other thing be produced, before a person appointed by
          the courE. By virtue of his appointment, the person
          appointed has power to administer any necessary oath and
          take the testimony or statement. The order may
          prescribe the practice and procedure, which may be in
          whole or part the practice and procedure of the foreign
          country or E.he j-nternational tribunal, for taking the
          Eestimony or statement or producj-ng the document or
          other thr-ng. To the extenE that the order does not
          prescribe otherwise, Ehe Eestimony or statemenL shaff be
          taken, and the document or other Ehing produced, in
          accordance with the Federal Rufes of Civi-I Procedure.

    The proper criteria      for deEermining wheEher Ehe court should
exercise its discreLion in favor of executing the requesL are
outlined in rn Re ReguesE for Judicial Assistarlce from Ehe Seouf
District CriminaT Court, 555 F.2d 720, 723 (9th Cir. 1977)
(citation omitted)
                 Under the statute Ehe only restrictions
                 explicj-tly stated are that the request be
                 made by a foreign or international
                 tribunal, and that the testimonY or
                 material requested be for use in a
                 proceeding in such a Eribuna]..., [and]
                 that the investigation in connection
                 with whj-ch uhe request is made must
                 refate to a judicial or quasi-judicial
                 controversy.
Moreover, " (t)he judicial proceeding for which assistance is
sought . .. need noE be pending aE Ehe time of the request for
assistance; it. suffices that the proceeding in the foreign
tribunal and its conEours be in reasonabl-e conEemplat.ion when
the request is   made. "   In Re Letter of Request from the   Crown

Prosecut.ion Services of the United Kingdom,    870 F. 2d   685,   687
(D.C. Cir. 1989). The lett.er of request in    E.hi s       shovrs t.hat.
the information sought is for use j-n such proceedings in Argenti-na
and hence the requesE comes weIl within those circumstances
contemplated by Congress in             expanding the Federal Courts'
authoriEy !o act in such matters.             In Re LeEEer of           RequesE from

che crown Prosecution Service of the United Kinqdom, 870 F.2d 686,
689-9a   (D.   C. Cir. 1989); In Re Letters RogatorY from the                  Tokyo

DisEricE,      Tokyo     ,Japan, 539 F.2d t2l7 , 1-2L9 (9th Cir.              L976)   .


Therefore, I ask this Court to honor the requesE for assisEance.
     The reception of lett.ers of request and Ehe appointment of                      a

Commissioner to execute Ehem are matEers customarily handled ex
parEe, and persons with objections tso the requesE raise those
objectsions by moving to quash any subpoenas issued by the
Commissioner. fd.
     WHEREFORE,        the United Statses requests thats Ehe Court issue          an

order, in the form, appended hereto, appointsing a Commissioner in
order to execute the request for assistance.
                                      Respectsf    u11y submitted,
                                      DAVID   C.    WEISS
                                      Unj-ted States Attorney


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Dated: August 14, 2018
